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IN THE uNITED sTATEs DISTRICT coURT r_
FOR THE wEsTERN DISTRICT oF TENNESSEE U\)Jb !-J- -7 PH he
wEsTERN DIVISION '27

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LANCE cRUTcHER, \’ h»Ef~f'FH;S

Plaintiff,

v. No. 04-2847 Ma/P
SGT. WILLIAM SANDERS, OLIVE
BRANCH POLICE DEPARTMENT, CITY
OF OLIVE BRANCH, MISSISSIPPI,
and LEONARD HURD,

vv-..¢\._¢~\_¢\~,¢\./~._/'~_¢~_¢\_r~_d

Defendants.

 

ORDER GRANTING DEFENDANTS' MOTIONS TO DISMISS

 

This case arises from an automobile accident that occurred in
Memphis, Tennessee. Before the court are the motion to dismiss of
Sergeant William Sanders and Olive Branch Police Department (“the
Police Department”), filed November 4, 2004, and the motion to
dismiss of City of Olive Branch, Mississippi (“the City”), filed
January 25, 2005. Plaintiff Lance Crutcher responded to the motion
of Sanders and the Police Department on December 10, 2004. He has
not responded to the City’s motion to dismiss. For the following
reasons, the motions are GRANTED.

I. Background

The complaint alleges the following facts. On January 26,

2002, Defendant Leonard Hurd Was suspected of stealing an

automobile from a lot in DeSoto County, Mississippi. (Compl. q

  
 

Defendant Sgt. William Sa ders of the Olive Branch Polic

 
 

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Department pursued Hurd from DeSoto County into Memphis, Tennessee
at a high rate of speed. (Id.) As a result of this high-speed
chase, Hurd's vehicle crashed into the vehicle of Plaintiff
Crutcher and caused significant damage to Crutcher’s person and
property. (Id. q 13.) Defendant Sanders was in the course and
scope of his employment when he chased Hurd. (Id. q 15.) Crutcher
alleges that he was driving his own automobile in a safe, cautious,
and. prudent manner at the time of the accident and that his
injuries were caused by the negligence of the Defendants. (Id. TT
14, 25.) The Defendants Sanders, the Police Department, and the
City allege that the statute of limitations bars Plaintiff's claims
against them.
II. Jurisdiction

Crutcher is a resident of Memphis, Tennessee. Defendants

Sanders and Hurd are residents of Olive Branch, Mississippi. The

City and the Police Department are also considered citizens of

 

Mississippi for jurisdictional purposes. See, e.g., Helmslev v.
city of Detroit, 205 F. supp. 793, 794 (E.D. Mich. 1962). The

amount in controversy exceeds $75,000. Thus, the court exercises
diversity jurisdiction under 28 U.S.C. § 1332. Venue in this
district is proper under 28 U.S.C. § l391(a).
III. Applicable Law

A federal district court is required to apply the “choice of

law” rules of the state in which it sits. Klaxon Co. v. Stentor

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Elec. Mfg. CO., 3l3 U.S. 487, 496 (1941); COle v. Mileti, 133 F.3d
433, 437 (6th Cir. 1998). “Otherwise the accident of diversity of
citizenship would constantly disturb equal administration of
justice in coordinate state and federal courts sitting side by
side.” Klaxon, 313 U.S. at 496. Therefore, the court must decide
which state’s law a Tennessee court would apply to the instant
case.

Tennessee Courts apply the “most significant relationship”
approach of the Restatement (Second) of Conflicts of Laws (the
“Second Restatement”) in deciding which state's law to apply to
tort-based claims. Glennon v. Dean Witter Revnolds, Inc., 83 F.3d

132, 136 (Gth Cir. 1996) (citing Hataway v. McKinleV, 830 S.W.Zd

53, 59 (Tenn. 1992)). The most significant relationship test looks
to: “(a) the place where the injury occurred, (b) the place where
the conduct causing the injury occurred, (c) the domicile,

residence, nationality, place of incorporation and place of
business of the parties, and {d) the place where the relationship,
if any, between the parties is centered.” SECOND RESTATEMENT §
145(2) (1971). Generally, “the law of the state where the injury
occurred, will be applied unless some other state has a more
significant relationship to the litigation.” Hataway, 830 S.W.Zd at
59.

The injuries giving rise to this case occurred in Memphis,
Tennessee. Sanders, the City, and the Police Department argue,
however, that they are protected by the sovereign immunity of the

state of Mississippi and that claims against them are limited to

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those authorized, by the Mississippi Tort Claims Act (“MTCA”).
There is no dispute that these Defendants are entities or employees
of the state cf Mississippi. Mississippi law provides that

the state and its political subdivisions ... are not now,
have never been and shall not be liable, and are, always
have been and shall continue to be immune from suit at
law or in equity on account of any wrongful or tortious
act or omission or breach by any employee of the state or
its political subdivisions

Miss. Code Ann. § 11-46-3 (internal quotations omitted). The MTCA
waives this immunity in specified circumstances and caps liability
for damages. Miss. Code Ann. § 11-46-5. In addition, the remedy
provided by the MTCA is exclusive of other common law actions
against the designated parties:

(1) The remedy provided by this chapter against a
governmental entity or its employee is exclusive of any
other civil action or civil proceeding by reason of the
same subject matter against the governmental entity or
its employee or the estate of the employee for the act or
omissions which gave rise to the claim or suit; and any
claim.made or suit filed against a governmental entity or
its employee to recover damages for any injury for which
immunity has been waived under this chapter shall be
brought only under the provisions of the chapter,
notwithstanding the provisions of any other law to the
contrary

(2) Any employee may be joined in an action against a
governmental entity in a representative capacity if the
act or omission. complained of is one for which the
governmental entity may be liable, but no employee shall
be held personally liable for acts or omissions occurring
within the course and scope of the employee's duties...

Miss. Code Ann. § ll-46-7.

There is no constitutional requirement that a Tennessee court
must honor a foreign state's assertion of immunity; Mississippi’s
interest in immunity' must be weighed against Tennessee's own

interests in sovereignty. See Nevada v. I-Iallr 440 U.S. 410, 411

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(1979)(upholding California state court's decision_ to subject
Nevada state employees to suit, when those employees would have
been immune under Nevada law). Where suit has been brought in a
forum state against entities or employees of another state,
however, the foreign state has an interest in the litigation more
significant than if suit had been brought against private parties.
See, e.q., Gaqlioti v. Cumminqs, 55 F. Supp. 2d 346, 349 n.4 (E.D.
Penn. 1999). Further, states may, as a matter of comity, “accord
each, other immunity' or ... respect any established. limits on
liability.” Nevada v. Hall, 440 U.S. at 426.

The parties do not cite, nor can the court locate, any
Tennessee decisions in which the defendants represented out~of-
state governments and asserted the sovereign.immunity of their home
state as a defense. United States District Courts in analogous
situations have held that the forum state would honor the foreign
state's assertion_ of immunity' for its employees and. political
subdivisions.

Gaglioti v. Cummings involved facts very similar to this case.
A New Jersey municipal employee was involved in a collision in
Pennsylvania with a Pennsylvania motorist. 55 F. Supp. 2d at 347.
The motorist sued in Pennsylvania, and the employee and
municipality claimed immunity under the New Jersey Tort Claims Act.
ld; Applying the choice-of-law principles in the Second
Restatement, the district court found that the New Jersey Tort
Claims Act applied because the defendant municipality was a

municipal public entity funded solely by New Jersey tax dollars,

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the municipality derived no business from Pennsylvania, and had the
accident occurred in New Jersey the municipality unquestionably
would have been immune. ld; at 349 n.4. Further, the court held
that “if we do not honor the limitations imposed under the New
Jersey Tort Claims Act, and instead put a Pennsylvania citizen’s
interests ahead of the interests of comity, we believe that there
is a risk that our sister states ~ six of whom border the
Commonwealth - would not respect similar Pennsylvania laws.” ld; at
349.

The Eastern District of Arkansas reached a similar conclusion.
In Harris v. City of Memphis, an Arkansas resident sued a Tennessee
municipality for injuries sustained in an automobile accident on an
interstate bridge allegedly caused by inadequate roadway lighting.
119 F. Supp. 2d 893. Applying Arkansas's choice of law rule,1 the
District Court found that “Tennessee ... has an interest in
protecting its municipalities through its sovereign immunity, which
is codified in the TG'I'LA_”2 and that “the harmonious relationship
between the two states would not be enhanced if this Court were to
ignore the immunity granted under Tennessee law simply because the

accident occurred a few yards on this side of the state line.

 

1 Arkansas does not follow the Second Restatement. Rather, Arkansas
courts employ a five-factor test consisting of 1) predictability of resultsr
2) maintenance of interstate and international order, 3) simplification of the
judicial task, 4) advancement of the forum's governmental interest, 5)
application of the better rule of law. Harris, 119 F. Supp. 2d at 895 (citing
Wallis v. Mrs. Smith’s Pie Co., 550 S.W.2d 453 (1977). Under this test,
courts are to give specific consideration to the interests of the forum state.

2 The TGTLA is the Tennessee Governmental Tort Liability Act, which
allows for limited liability of state entities for injuries of private
citizens. For purposes of the instant motionsr it is analogous to the MTCA.

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Therefore, Tennessee has a more significant interest in this case
than does Arkansas.” ;d* at 896.

The court held further that Arkansas would apply the TGTLA in
the interests of comity. In reaching this decision, the court
considered the fact that “both Arkansas and Tennessee have similar
statutes that grant municipalities immunity from suit.” ld; at 898.
Because of this similarity, the court found that extending immunity
to the Tennessee entities would be in keeping with the public
policy of Arkansas. Id.; see also Davis v. City of Augusta, 942 F.
Supp. 577 (S.D. Ga.)(holding that comity' weighed_ in favor of
enforcing Georgia's sovereign immunity under South Carolina state
law).

Similarly, the court finds that application of the MTCA to the
claims against Sanders, the City, and the Police Department is in
keeping with the public policy of Tennessee. Because this case
involves conduct of the government of Mississippi, Mississippi
maintains a significant interest in the litigation. §ee Gaglioti,
55 F. Supp. 2d at 349. Further, Tennessee has an interest in
seeing that the immunity of its own political subdivisions, as
embodied in the TGTLA, is honored by other state courts in similar
circumstances. Applying the MTCA in the instant case would further
that goal. §e§ Harris, 119 F. Supp. 2d at 897-98. Forcing other
states to waive immunity when their law enforcement officers cross
state lines in the line of duty could discourage the efficient
pursuit of criminal suspects who flee bordering states into

Tennessee, and vice-versa. lt would not be consistent with the

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public policy of Tennessee, as expressed in the TGTLA, and would
violate fundamental principles of comity. For the foregoing
reasons, the court will apply' the MTCA. to Plaintiff’s claims
against Sanders, the City, and the Police Department.
IV. Analysis

Sanders, the City, and the Police Department argue that the
one-year statute of limitations under the MTCA bars Plaintiff’s
claims against them. §ee Miss. Code Ann. § 11-46~11. The accident
giving rise to this suit occurred on January 6, 2002, and Plaintiff
filed this action on September 8, 2004. Plaintiff filed a prior
action raising the same claims in Shelby County General Sessions
Court and took a voluntary non-suit of that action on September 9,
2003.3 Plaintiff argues that this suit is excused from the
applicable statute of limitations by Tennessee’s savings statute.

Statutes of limitations are generally considered substantive
law. See Jinks v. Richland Countv, S.C., 538 U.S. 456, 465
(2003)(citing Guaranty Trust Co. v. York, 326 U.S. 99 (1945)).
Because the MTCA applies to Plaintiff’s claims against Mississippi
governmental entities, the MTCA's limitations period would also
function as part of the substantive Mississippi law applicable to

those claims.

 

3 lt is unclear from the pleadings when the original suit was filed in
Shelby County General Sessions Court. The MTCA contains a provision that
tolls the statute of limitations for 120 days upon receipt of notice of a
claim by a designated municipal official. §§§ Miss. Code Ann. § 11-46-11(3).
Assuming that the filing of the original suit qualifies as notice of the
claim, the tolling provision would not bring the current action within the
statute of limitations, as it was filed well over two years after the accident
occurred. See generally Paqe v. University of Southern Mississippi, 878 So.2d
1003 (Miss. 2004}.

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Even if it were to consider the issue separately, a Tennessee
court would apply the applicable limitations period under the MTCA,
rather than the Tennessee statute of limitations. Under Tennessee
law, “[w]hen a statute which creates a right of action expressly
limits the time in which suit to enforce the right may be brought,
time is of the essence of the right and the limitation of the
remedy is a limitation of the right.” Brooksbank v. Roane Co., 341
S.W.2d 570, 573 ('I`enn. 1960).

A statute which in itself creates a new liability, gives

an action to enforce it unknown to the common law, and

fixes the time within which that action may be commenced,

is not a statute of limitations. lt is a statute of

creation, and the commencement of the action within the

time it fixes is an indispensable condition_ of the

liability and of the action which it permits. The time

element is an inherent element of the right so created,

and the limitation of the remedy is a limitation of the

right. Such a provision will control, no matter in what

form the action is brought. The statute is an offer of

an action on condition that it be commenced within the

specified time.... Generally speaking the time

requirement prescribed by a statute granting the right to

sue the United. States or a state is construed. as a

condition or qualification of the right; such a provision

is in other words jurisdictional rather than a were

statute of limitations.

U.S. v. Thrower, 267 F. Supp. 608, 610 (M.D. Tenn.
1967)(interpreting limitations period for tort action against
United States government); see also P & E Electric. Inc. v. Utility
Supply of America, Inc., 655 F. Supp. 89, 95 (M.D. Tenn.
1986)(applying Restatement (2d) of Conflicts § 143 and holding that
Louisiana statute of limitations applied because “[t]he fact that
the statute contains its own limitations period is relevant to its

construction and is a ground for saying that the limitation goes to

the right created and accompanies the obligation everywhere”).

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The MTCA was enacted to create a limited exception to the
common law immunity of the state of Mississippi and its political
subdivisions. See Marcum v. Hancock Co. Sch. Dist., 741 So.2d 234,
236 (Miss. 1999); see also Miss. Code Ann. § 11-46-3 (“the state
and its political subdivisions ... are not now, have never.been and
shall not be liable ...”)(emphasis added). Furtherr the MTCA
contains its own statute of limitations, which provides:

The limitations period provided herein shall control and

shall be exclusive in all actions subject to and brought

under the provisions of this chapter, notwithstanding the
nature of the claim, the label or other characterization

the claimant may use to describe it, or the provisions of

any other statute of limitations which would otherwise

govern the type of claim or legal theory if it were not

subject to or brought under the provisions of this

chapter.
Miss. Code Ann. § 11-46-11. Thus, under the statutory scheme, the
MTCA limitations period is an essential component of the right
created by the MTCA, rather than a mere procedural limitation.
Under Tennessee choice-of-law rules, the MTCA statute of
limitations, Miss, Code Ann. § 11-46-11, applies to Plaintiff's
claims arising under the MTCA, Miss. Code Ann. § 11-46-5.

The Defendants cite Stockstill v. State, 854 So.2d 1017 (Miss.
2003), in which the Mississippi Supreme Court held that
Mississippi’s general savings statute does not apply to actions
under the MTCA. That case is analogous to this one. The
plaintiffs in Stockstill filed a tort action in federal court, and
the suit was dismissed on Eleventh Amendment grounds. Plaintiffs

then filed suit in state court after the MTCA’s one-year

limitations period had passed, arguing that the general savings

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statute, Miss. Code Ann. § 15-1-69,4 precluded dismissal of their
MTCA claims on limitations grounds. The court stated that
“Plaintiffs arguably brought their suit in the wrong court within
the one year statute of limitations ... but there is simply no
provision7 applicable to the MTCA which would act to correct
Plaintiffs' error ...” ld; at 1022. The court emphasized that the
MTCA contained its own specific savings clause for claims brought
by minors and that the legislature had declined to enact a broader
one. “lf it is the intent of the Legislature for a savings clause
to apply to the MTCA, it will be in the power of the Legislature to
amend the statute just as it did in 2000 and 2002.” ld;
Mississippi law is clear that the MTCA claims are not saved by
the prior filing of suit in Shelby County General Sessions Court
and are subject to a strict one-year statute of limitations. The
MTCA provides the exclusive remedy for claims against the City, the
Police Department, and Sanders. Miss. Code Ann. § 11-46-7; see also
Ray v. Keith, 859 So.2d 995, 1001 (Miss. 2003). Therefore,
Plaintiff's claims against Sanders, the City, and the Police

Department must be dismissed.

 

4 “If in any actionr duly commenced within the time allowed, the writ
shall be abated, or the action otherwise avoided or defeated ... for any
matter of form, ... the plaintiff may commence a new action for the same
cause, at any time within one year after the abatement or other determination
of the original suit ....” Miss. Code Ann. § 15-1-69.

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V. Conclusion

For the foregoing reasons, the motions to dismiss are GRANTED.

So ORDERED this-)‘H‘ day of June 2005.

N%Mlll

 

SAMUEL H. MAYS, JR
UNITED STATES DISTRICT JUDGE

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UNITE`D STEATS DISRTICT OURT- WENSTER ISTRIC oF TNNESSEE

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Honorable Samuel Mays
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